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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION


IN RE GARY BOWMAN,                             )
                                               )
       Appellant.                              )
                                               )
                                               )         Case No. 1:13-cv-01140-GBL
                                               )
                                               )
                                               )


                          MEMORANDUM OPINION AND ORDER

       THIS MATTER is before the Court on Appellant Gary Bowman's appeal of (i) an order

of the Bankruptcy Court for the Eastern District of Virginia ("Bankruptcy Court") denying Mr.

Bowman's Motion for Reconsideration [of the Order Denying Motion to Defer Payment of Fee]

and Amended Motion to Defer Reopening Fee, and Mr. Bowman's appeal of (ii) the Court's

Order denying the reopening of the bankruptcy case in which Mr. Bowman was sanctioned, for

failure to pay the reopening fee.

       There are three issues before the Court. The first issue is whether the Bankruptcy Court

abused its discretion by requiring Mr. Bowman to pay the wrong amount in filing fees and

refusing to reopen his case based on the non-payment of the wrong amount of fees. The second

issue is whether the Bankruptcy Court abused its discretion by not extending the time to pay the

correct fee after it denied Mr. Bowman's motion for reconsideration of payment or deferral of

the filing fee. The third issue is whether the Bankruptcy Court abused its discretion by not
waiving the filing fee even though Mr. Bowman claimed that appropriate circumstances justified
waiver of fee.
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